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                         Exhibit B
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    (r2)   United States Patent                                                  1ro; Patent No.: US 9,814,915 B2
           Moore                                                                 1+s; Date of Patent: Nov. 14,2017

    (54) QUINT CONFIGUR{TION FIRE APPARATUS                                         usPC              ...........                              t69t5t-54
                                                                                    See application            file for complete search history.
    (71) Applicant: Oshkosh Corporation, Oshkosh, WI
                      (US)                                                  (56)                             References Cited
    (72) Inventor:    Michael R. Illoore, Neu, London, WI                                             U.S. PATENT DOCUMENTS
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    (73)   Assignee: Oshkosh Corporation, Oshkosh, WI                              3,346,052          A      l0il967    Moore et al.
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                      patent is extended or adjusted under 35                                  FOREIGN PAIENT DOCUMENTS
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    (21)   Appl. No.: ,.51460,907                                                                               (Continued)
    (22) Filed: Mar. 16,2017
                                                                                                       OTHER PUBLICATIONS
    (6s)                 Prior Publication Data
                                                                            U.S. Appl No. 08/046,623, filed Apr. 14, 1993, Schmitz et al.
           US 201710182340    Al       J;un.29,2O17                                                             (Continued)

                  Related U.S. Application Data
                                                                            Primary Examiner             O Hall
    (63)   Continuation ofapplication No. 15/351,417, filed on              Assislant Examiner
                                                                                               - Arlhur
                                                                                                   Adam J Rogers
           Nov. 14, 2016, now Pat. No. 9,597,536. which is a                                    -
                                                                            (74) Attorney, Agent, or Firm   Foley                   &   Lardner LLP
           continuation of application No. 141552,252, filed on                                                          -
           Nov. 24, 2014, now Pat. No. 9,504.863.                           (s7)                               ABSTRACT
    (s1) Int. Cl.                                                           A quint configuration fire apparatus includes a chassis.                      a
           A62C 27/00               (2006.01)                               body assembly coupled to the chassis and having a storage
           E06C 5/04                (2006.01)                               area configured to receive a ground ladder and a fire hose,
           E06C 5/38                (2006.0r)                               a pump coupled to the chassis, a water tank coupled to the
           8608 3s/00               (2006.01)                               chassis, a ladder assembly iucluding a plurality ofextensible
           B60G 11/10               (2006.0l)                               ladder sections, the ladder assembly having a proximal end
                             (Continued)                                    that is coupled to the chassis, a single front axle coupled to
    (s2) u.s. cr.                                                           a front end of the chassis, and a single rear axle coupled to
           CPC .............. A62C 27/00 (2013.01); 8608 35/00              a rear endofthe chassis. The center ofgravity ofat least one
                   (2013.01); 8608 3s/004 (2013.01); B60G                   of the chassis, the body assembly, the pump, and the water
               1U02 (2013.o1); B60G 11/10 (2013.01); B60G                   tank are positioned to counterbalance a momcnt gcnerated
                  11127 (2013.01); E06C s/04    (20t}.ot); E06C             by the tip load with the ladder assembly extended to lhe
                                                s/38 (2013.01)              horizontal reach ofat least 90 feet.
    (58)   Field of Classification Search
           CPC ............ A62C 27/oO; A62C 13178; A62C 3/07                                     20 Clalms,20 Drawing Sheets
Case 8:18-cv-00617-TPB-TGW Document 254-2 Filed 10/30/19 Page 3 of 32 PageID 11645



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                                         FIG. 7
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                                      FIG. 18




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                                      FIG. 19
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           QUINT CONFIGURATION FIRE APPARATUS                                    ladder assembly is extensible to provide a horizontal reach
                                                                                 ofat least 90 feet and is configured to support a tip load of
             CROSS.REFERENCE TO RELAIED PATENT                                   at least 750 pounds. The center ofgravity ofat least one of
                       APPLIC.{TIONS                                             the chassis, the body assembly. the pump, and the water tank
                                                                              5  are positioned to counterbalance a moment generated by thc
           This is a corltinuation of U.S. application Ser. No. 15/351,          tip load with the ladder assembly extended to the horizontal
       417, fited Nov. 14, 2016. which is a continuation of U.S.                 reach of at least 90 feet.
       application Ser. No. 14/552,252. filed Nov. 24,2014. and ts                  ,Another embodiment relates to a quint configuration fire
       related to U.S. application Ser. No. 151089,137. filedApr. 1,             apparatus. The quint configuration fue apparatus includes a
       2016. which is a continuation of U.S. application Ser. No.             lo chassis, a body assembly coupled to the chassis and having
        141552,240, filed Nov. 24, 2014; U.S. application Ser. No.               a storage area configurd to receive a ground ladder alld a
       141552,293, filed Nov. 24,2O14; U.S. application Ser. No.                 fire hose, a pump coupled to the chassis, a water tank
       141552,283, filed Nov. 24, 2O14.; U.S. application Ser. No.
                                                                                 coupled to the chassis, a ladder assembly including a plu-
        14/552,260, filed Nov. 24,2014, norv U.S. Pat. No.9,302,
                                                                              ,, rality of extensible ladder sections, the ladder assembly
        I 29; and U.S. application Ser. No. I 4 I 552,27 5, fi led Nov. 24,
                                                                                 having a proximal end that is coupled to the chassis, a single
       2O14; all of which are incorporated herein by reference in
                                                                                 front axle coupled to a front end ofthe chassis, and a single
       their enlireties.
                                                                                 rear axle coupled to a rear end ofthe chassis. The single rear
                               BACKGROUND                                        axle includes either a single solid axle conliguration exlend-
                                                                              29 ing laterally across the chassis or a first axle having a finst
           A quint configuration fire apparatus (e.g.. a fire tnrck, etc.)       conslant velocity joint and a second axle having a second
       includes an aerial ladder, a water tank, ground ladders, a                constant velocity joint. the first axle and the second axle
       water pump, and hose storage. Acrial ladders nray be clas-                extending from opposing lateral sides ofa differential. The
       sified according to theirhorizontal reach and vertical exten-             ladder assembly is extensible to provide a horizontal reach
       sion heighr. Traditionally, weiglrt is added to the fire appa-         2s ofat least 90 feet and a vertical height of at least 95 feet. The
       ratus (e.g., by making the various components heavier or                  center of gravity of at least one of the chassis, the body
       larger, etc.) in order to increase the horizontal reach or                assembly, the pump, and the water tank are positioned to
       vertical extension heiglrt of the aerial ladder. Traditional              counterbalance a moment generated by the tip load with the
       quint configuration fire trucks have included a second rear               ladder assemblv extended to the horizontal reach of at least
       axle to carry the weight required to provide the desired aerial        30 go feet.
       ladder horizontal reach and vertical extension height. Such                  The invention is capable of other embodirnents and of
       vehicles can therefore be more heavy, difficult to maneuver,
                                                                                 being carried out in various ways. Altemative exernplary
       and expensive to manufacture.
                                                                                 embodiments relate to other features and combinations of
                                 SUMI!tr{RY                                   ,, features as may be recited herein.

                                                                                        BRIEF DESCzuPTION OF THE DRAWINGS
          One embodiment relates to a quint configuration fire
       apparafus. The quint configuration fire apparatus includes a
       chassis, a body assembly coupled to the chassis and having
                                                                            The disclosure will become more fully understood frotn
       a storage area configured to receive a ground laddcr and a oo the following detailed description, taken in conjunction with
       fire hose, a pump coupled to the chassis, a water tank            the accompanying figures, wherein like reference numerals
       coupled to the chassis, a ladder assernbly including a plu-       refer to like elements, in which:
       rality of extensible ladder sections. the ladder assembly                          I
                                                                            FIG. is a front perspective view of a fire apparatus,
       having a proximal end that is coupled to lhe chassis. a single    according to an exemplary embodiment;
       front axle coupled to a lront end of the chassis, and a single         4s
                                                                            FIG. 2 is a rear perspective view of the fue apparatus of
       rear axle coupled to a rear erd of lhe chassis. The ladder        FIG. 1. according to an exemplary embodiment;
       assembly is extensible to provide a horizontal reach of at           FIG. 3 is a left side view of the fire apparatus of IlG. 1,
       least 90 feet and a vertical height ofat least 95 Get and is      according to an exemplary embodiment;
       configured to support a tip load ofat least 750 pounds. The          FIG. 4 is a right side view of the fire apparatus of FIG. 1.
       center of gravity of at least one of the chassis, the body so according to an exemplary embodiment;
       assembly', the pump, and the water tank are positioned to            FIG. 5 is a rear perspective view of a water tank of the fire
       counterbalance a moment generated by tlie tip load with the       apparatus of FIG.            l,
                                                                                                  according to an exemplary embodi-
       ladder assernbly extended to the horizontal reach ofat least      ment;
       90 feet.                                                             FIG. 6 is a front perspective view of various inlemal
          Another embodiment relates 1o a fue apparalus. The fire s5 cornponents of the fue apparatus of FIG. l, according 1() aD
       apparatus includes, a chassis, a body assembly coupled to         exemplary ernbodinrent:
       the chassis ard configured to receive a ground ladder, a fire        FIG. 7 is a front view of the fire apparatus of FIG. I,
       hose, a pump, and a u'ater tarili. a ladder assembly including    according to an exemplary ernbodiment;
       a plurality ofextensible ladder seclions, the ladder assembly        FIC. 8 is a rear view of the fire apparatus of FIG. I,
       having a proximal end that is coupled to the chassis. a single oo according to an exernplary ernbodiment;
       front axle coupled to tbe front end ofthe chassis, and a single      FIG. 9 is a top view of the fire apparatus of FIG. l,
       rear axle coupled 1o a rear cnd ofthe chassis. The sing'le rcar   according to an cxemplary crnbodiment;
       axle includes either a single solid axle colilignratiou extend-      FIG. 10 is a botlom vierv of the fire apparatus of FIG. l.
       ing laterally across the chassis or a first axle having a first   according to an exemplary embodiment;
       constant velocity joint and a second axle having a second              6s
                                                                            FiG. 11 is a perspective view ofa frort susperlsion ofthe
       constarl velocity ioint, the flrst axle and the second axle       fire appararus of FIG. 1. according to an exernplar,v embodi-
       extending frcm opposing lateral sides of a dillerential. The      meDll
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        FIG. 12 is a perspective view ofa rear suspension ofthe      having a set of constant velocity joints and coupling a
    fire apparatus of FIG. 1, according to an exemplary embodi-      diferential to a pair ofhub assemblies, according to various
    rnent;                                                           altemative embodiments. According to an exemplary
       FIG. L3 is a left side view of a single set of outriggers and embodiment, the aerial ladder assembly of the quint con-
    a stability foot provided with the fire apparatus of FIG. 1, 5 figuration fire apparatus is operable at a vertical extcnsion
    according to an exemplary embodimentl                            height of at least 95 feet (e.g., 105 feet, 107 feet, etc.) and
       FIG. 14 is a rear view of the single set of outriggers and    at least 90 feet (e.g., at least 100 feet, etc.) ofhorizontal
    the stability lbot of FIG. 13 in an extended conliguration,      reach with a tip capacity of at least 750 pounds. The weight
    according to an exemplary embodiment:                            ofthe chassis and other components is supported by a single
       FIG. 15 is a partial view the single set of outriggers of l0 ."u. uxl. chassis, thereby reducing cost an<l increasing
    FIG. 13, according to an exemplary embodiment;                   rnaneuverability relative to traditional vehicles.
       FIG. 16 is a left sidc vicw of the firc apparatus of FIG. I                                                         in
                                                                          According to the exemplary embodiment shown          FIGS.
    with an aerial ladder assembly extended, according to an
                                                                       1-12, a vehicle, shown as a fire apparatus 10, includes a
    exemplary embodiment;
       FIG. 17 is a right side view of the fire apparatus of PIG.   ,, chassis, shown as a frame 12, that defines a longitudinal axis
                                                                       14. A body assembly, shown as rear section 16. axles 18. and
    1 with an aerial ladder assembly extended, according to an
    exemplary embodiment;                                              a cab assembly, shown as front cabin 20, are coupled to the
       FIG. 18 is a top view of the fire apparatus of FIG. 1 with      frame L2. In one embodiment, the longitudinal axis 14
    the single set of outriggers extended and an aerial ladder         extends along a direction defined by at least one of a first
    assembly positioned forward, according to an exemplary          zo frame rail 11 and a second frame rail L3 of the frame 12 (e.9.,
    embodiment;                                                      front{o-back. etc.).
       FIG. 19 is a top view of the fire apparatus of FIG. I with       Referring to the exemplary embodiment shown in FIG. 1,
    the single set of outriggers extended and an aerial ladder       the front cabin 20 is positioned forward ofthe rear section
    assembly positioned at a forward angle, according to an          16 (e.g., with respect to a forward direction of travel for the
    exemplary embodiment;                                         zs vehicle along the longitudinal axis 14, etc.). According to an
       FIG. 20 is a top view of the fire apparatus of FIG. 1 with    altemative embodiment, the cab assembly may be posi-
    the single set of outriggers extended and an aerial ladder       tioned behind the rear section 16 (e.g., with respect to a
    assembly positioned to one side. according to an exernplary      forward direction of travel for the vehicle along the longi-
    embodirnent; and                                                 tudinal axis I4, etc.). The cab assembly may be positioned
      FIG. 21 is a top view of the fire apparatus of FIG. 1 with 30 behind the rear section 16 on, by way of example, a rear tiller
    the single set of outriggers extended and an aerial ladder       fire apparatus. In some embodiments, the fire apparatus L0
    assembly positioned both at a rearward angle and backrvard,      is a ladder tnrck with a front portion that includes the front
    according to an exemplary embodiment.                            cabin 20 pivotally coupled to a rear portion that includes the
                                                                     rear section 16.
                    DETA]LED DESCRIPTION                            35  As shown in FIGS. 2 and 8, the fire apparatus 10 also
                                                                         includes ground ladders 46. The ground ladders 46 are
       Before tuming to the figures, which illustrate the exem-          stored within compartrnents that are closed with doors 30.
    plary embodiments in detail, it should be understood that the        As shown in FIGS. 2 and 8, the fire apparatus 10 includes
    present application is not limited to the details or method-         tw'o storage compartments and doors 30, each to store one or
    ology set forth in the dcscription or illustrated in rhe figures. 40 more individual ground ladders 46. In other embodiments.
    It should also be understood thal the temrinology is for the         only one storage compartment and door 30 is included to
    purpose of description orily and should not be regarded as           store one or more ground ladders 46. In still other embodi-
    limiting.                                                           rnents, three or more storage compartments and doors 30 are
        According to an exemplary embodirnent, a quint configu-        included to store th-ree or more ground ladders 46. As shown
     ration fire apparatus includes a water tank, an aerial ladder, as in FIGS. 2 and 8, a hose chute 42 is provided on each lateral
     hose storage, ground ladders, a \&'ater pump, and a single rear   side at the rear ofthe fire apparatus 10. The hose chutes 42
     axle. While some traditional quint configuration fire trucks      define a passageway where one or more hoses may be
     have a ladder assembly mounted on a single rear axle              disposed once pulled from a hose storage location, shown as
     chassis, the ladder assernbly ofsuch fire lnrcks tradilionally    hose storage platform 36. The fire apparatus 10 includes
    lras a vertical extension height of75-80 feet and 67-72 feef so additional storage. shown as storage compartments 32 and
     of horizontal reach. V'ertical extension height rnay include      68. to store rniscellaneous items and gearused by emergency
    the distmce from the upper-nost mng of the ladder assem-           response persomrel (e.g., helmets: axes, oxygen tanks, medi-
    bly to the ground wten the ladder assembly is fully                cal kits, etc.).
     extended. Reach may include the horizontal distance from              .{s shown in FIGS. I and7, the fire apparatus L0 includes
    the point of rotation (e.g.. point of connection of a ladder ss an engine 60. In one embodiment, the engine 60 is coupled
     asse[rbly 10 a fire apparatus! etc.) to the furthest nurg when    to the frarne 12. According to an exemplary embodiment. the
    the ladder assembly is exteuded. Increasilg vertical exten-        engine 60 receives fuel (e.g., gasoline, diesel, etc.) from a
     sion height or horizontal reach is traditionally achieved by      flre1 tank and combusts the luel to generate mechanical
     increasing the weight of varions components (e.g., the aerial     energy. A transmission receives the mechanical energy and
     ladder assembly, the tumtable, etc.). The increased weight, oo provides an output to a drive shaft. The rolating drive shaft
     in turn. is traditionally carried by a requisite larrdem rear     is received by a dilferential, which conveys the rotational
     axle. A tandem rear axle may include two solid axlc con-          energy of the drivc shaft to a final drive (e.g., wheels, etc.).
     figurations or may include two pairs of axles (e.g., two pairs    The final drive then propels or moves the fire apparatus 10.
    of half shafts. etc.) each having a set of constant velocity       According to an exemplary embodinrent, the engine 60 is a
    joints and coupling two diferentials to two pairs of hub 6s compression-ignition intemal combustion engine that uti-
     assemblies. A single rear axle chassis may include one solid      lizes diesel ftlel. In alternative embodiments, the engine 60
    axle configuration or rnay include one pair of axles each          is another type of device (e.g., spark-ignition engine, fuel
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       cell. electric motor, etc.) that is othenvise powered (e.g.,         powered. In one embodiment. aerial ladder assembly 200 is
       with gasoline, compressed natural gas, hydrogen, electricity,        rotatable between a lorvered position (e.g., the position
       etc.).                                                               show'n in FIG. 1, etc.) ald a raised position. The aerial ladder
         As shown iu FIGS. 1-2, the fire apparatus 10 is a quint            assembly 200 may be generally horizontal or an angle (e.g.,
       configuration fire truck that includes a ladder assernbly,       s   10 degrees, etc.) below the horizontal when disposed in the
       shown as aerial ladder assembly 200, and a tumtable assem-           lowered position (e.9., a stored position, etc.). In one
       bly, shown as tumtable 300. The aerial ladder assernbly 200          ernbodirnent. extcnsion and retraction ofcylindcrs 56 rotates
       includes a first end 202 (e.9., base end, proxirnal cnd, pivot       aerial ladder asscrnbly 200 about the horizontal axis 44 and
       end, etc.) and a second end204 (e.g., free end, distal end,          raises or lo'w'ers, respectively. the second end 204 of aerial
       platform eM, implement end. etc.). As show'n in FIGS. l-2, to ladder assembly 200. In the raised positioq the aerial ladder
       the aerial ladder assembly 200 includes a plurality ofladder         assembly 200 allows access between the ground and an
       sections. In some embodiments, the plurality of sections of          elevaled height for a fire fighter or a person being aided by
       the aerial ladder assembly 200 is exteldable. Al actuator            the fire fighter.
       may selectively reconfigure the aerial ladder asserubly 200             According to the exenplary embodiment shown in FIG.
       between an extended configuration and a retracted configtt- ts 5, a reservoir. shown as water tank 58, is coupled to the
       ration. By way of example, aerial ladder assembly 200 may            frame 12 with a superstructure. In one embodiment, the
       include a plrrality of nesting sections that telescope with          watertank 58 is located within the rear section 16 and below
       respect to one another. In the extended configuration (e.g.,         the hose storage platform 36. As shown in FIG. 5, the water
       deployed position, use position, etc.), the aerial ladder            tank 58 is coupled to the frame 12 with a lubular component,
       assembly 200 is lenglhened, and the second end 204 is zo show'n as torque box 400. In one embodiment, the water tank
       extended away from the first end 202. In the retracted               58 stores at least 500 gallons of water. In other embodi-
       configuration (e.9., storage position, transport position, etc.),    ments, the resenoir stores another firefighting agent (e.g.,
       the aerial ladder assembly 200 is shortened, and the second          foam, etc.). According to the exemplary embodinrent shown
       end 204 is withdrawn towards the first end 202.                      in FIGS. 2 aud 5, the water ta.uk 58 is filled with a fill dome,
          According to an exeuplary embodirnent, lhe lirst end 202 t s show-n as fill dome 34.
       of the aerial ladder assembly 200 is coupled to the frame L2.           As shown in FIGS. 1-2, the fire apparatus 10 includes a
       By way of example, aerial ladder assembly 200 may be                 punrp lrouse, shou'n as pump house 50. A pump 22 may be
       directly coupled to frame 12 or indirectly coupled to frame          disposed within the pump house 50. By way of exarnple, the
       12 (e.g., with an intermediate superstructure, etc.). As shown       punrp house 50 may include a pump panel having an inlet for
       in FIGS. l-2, the first end 202 ofthe aerial ladder assernbly lo the entrance of water frorn an extemal source (e.g., a fire
       200 is coupled to the tumtable 300. The tumtable 300 may             hydrant, etc.). As show'n in FIG. 2, an auxiliary inlet, shown
       be directly or indirectly coupled to the frame 12 (e.g., with        as inlet 28, is provided at the rear ofthe fire apparatus 10.
       an intennediate superstructure, via rear section 16, etc.). As       The pump house 50 may include an outlet configured to
       shown in FIG. 1, the turntable 300 includes a railing                engage a hose. The ptmp 22 may pump fluid through the
       asseurbly, shown as hand rails 302, and guard rails, shown 35 hose to extinguish a fire (e.g., water liom the inlet of the
       as guard rails 304. The hand rails 302 provide support lbr           pump house 50, water li'onr the inlet 28, water stored in the
                                                -lhe guard rails 304 are    water tank 58, etc.).
       operators aboard the tumtable 300.
       coupled to the hand rails 302 and provide two entrances to              Referring still to the exemplary embodiment shown in
       the tumtable 300. An operator may provide a force to rotale          FIGS. 1-2, an implement, shown as rozz)e 38 (e.g., deluge
       rhe guard rails 304 open and gain access to the tumtable 300. +o gun, w'ater cannon, deck gun, etc.), is disposed at the second
       In the embodiment shown in FIG. 2, the tumtable 300 rotates          end 204 ofthe aerial ladder assernbly 200. The nozzle 38 is
       relative 1o the frame 12 about a generally vertical axis 40.         connected to a water source (e.g., the water tank 58, an
       According to an exemplary eurbodiment. the rumtable 300              exlemal source. etc.) via an intermediate conduit extending
       is rotatable a full 360 degrees relative to the frame 12. In         along the aerial ladder assernbly 200 (e.g., along the side of
       other embodiments, the rotation of the tumtable 300 relative as the aerial ladder assembly 200. beneath the aerial ladder
       to the frarne 12 is lirnited to a range ofless than 360 degrees,     assernbly 200, in a chamel provided in the aerial ladder
       or the turntable 300 is fixed relative to the frame 12. As           assembly 200, etc.). By pivoting the aerial ladder assembly
       shown in FIGS. 1-4, the rear section 16 includes a pair of           200 into the raised position, the nozzle 38 may be elevated
       ladders 26 positioned on opposing lateral sides of the fire          to expel rvaler from a higler elevation to facilitate suppress-
       apparatus 10. As shown in FIGS. l-2, lhe ladders 26 are so ing a fue. In some embodiments, the second end 204 of the
       coupled to the rear section 16 with hinges. An operator (e.g.,       aerial ladder assembly 200 includes a basket. The basket
       a fire fighter. etc.) rnay access the trrntable 300 by climbing      nay be configured to hold at least one of fire fighters and
       either one ofthe ladders 26 and entering tirough the guard           persons being aided by the fire fighrers. The basket provides
       rails 304. According to the exernplary embodiment shown iu           a platfonn frorn which a fire figlrter may complete various
       FIGS. 1-2, the turntable 300 is positioned at the rear end of ss tasks (e.g.. operale lhe nozzle 38, create ventilatiotr, over-
       the rear section 16 (e.g., rear mount, etc.). In other erubodi-      haul a bumed area, perfomr a rescue operation. etc.).
       rnents, the tumtable 300 is positioned at the front end of the          According to the exemplar.v ernbodirnent shown iu FIGS.
       rear section 16, proxirnate the liont cabin 20 (e.g., mid            5-6, the torque box 400 is coupled to the liarDe 12. In one
       mount, etc.). In still other embodiments, the tumtable 300 is        embodiment. the torque box 400 extends the full width
       disposed along front cabin 20 (e.g., front mount,    elc.).       60 between the lateral outsides ofthe first frame rail 11 and the
          According to the exemplary ernbodiment shown in FIGS.             second frarle rail 13 of the fraure 12. The lorque box 400
       l-2, the first end 202 of the acrial laddcr assenrbly 200 is         includcs a body portion lraving a finst end 404 and a second
       pivotally coupled to the rumtable 300. An actuator. shown as         end 406. As shown in FIG. 5, a pedestal, shown as pedestal
       cylinder 56, is positioned to rotate the aerial ladder assernbly     402, is attached to the fust end 404 of the torque box 400.
       200 about a horizontal axis 44. The actualor may be a linear os In one ernbodiment. lhe pedestal 402 is disposed rearward of
       actuator. a rotary actuator, or still another l-vpe ofdevice and     (i.e.. beliind, etc.) the single rear axle 18. The pedestal 402
       may be powered hydraulically, electricallv. or still otherwise       couples the tumtable 300 to the torque box 400. The
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    tunrtable 300 rotatably couples the first end202 of the aerial        has a second set of constant velocity joints. The fust axle
    ladder assembly 200 to the pedestal 402 such that the aerial          assembly 52 and the second axle assembly 52 may extend
    ladder assembly 200 is selectively repositionable into a              liom opposing lateral sides of the diff'erential 62, coupling
    pluraliry of operating orientations. According to the exem-           the dill'erential 62 to the pair of hub assernblies 64. As shown
    plary embodiment shown in FIGS. 3-4, a single set of                s in FIGS. L0-L1, a front suspension. shown as front suspen-
    outriggers, shown as outriggers 100. includes a first outrig-         sion 54, for the front axle 18 includes a pair ofindependent
    ger 110 arrd a second outrigger 120. As shown in FIGS. 3-4,           suspcnsion asscmblies. In one embodiment, the front axle 18
    the first outrigger 110 and the second outrigger 120 arc              has a gross axle weight rating of no more than 33,500
    attached to the second end 406 ofthe torque box 400 in front          pounds.
    ofthe single rear axle 18 and disposed on opposing lateral         ro    According to the exemplary emboditnent shown in FIGS.
    sides of the fire apparatus 10. As shown in FIGS. 1-4, the              1-12. the aerial ladder assembly 200 fonns a cantilever
    outriggers 100 are moveably coupled to the torque box 400               structure when al least one ofraisecl vertically zurd extended
    and may exlend outward, away from the longitudinal axis                 horizontally. The aerial ladder assembly 200 is supported by
    14, and parallel to a lateral axis 24. According to an                  the cylinders 56 and by the turntable 300 at the first end 202.
    exernplary embodiment, the outriggers 100 extend to a              15   The aerial ladder assembly 200 supports static loading from
    distance of eighteen feet (e.g., measured between the center            its own weight, the weight of any equipment coupled to the
    of a pad of the first outrigger 1L0 and ttre center of a pad of         ladder (e.g., the nozzle 38, a water line coupled to the nozzle,
    the second outrigger 120. etc.). In other embodiments, the              a p'latform, etc.), and the weiglrt of any persons using the
    outriggers 100 extend to a distance of less than or greater             ladder. The aerial ladder assembly 200 may also support
    than eighteen feet. An actuator may be positioned to extend        20   various dynamic loads (e.g., due to forces imparted by a flre
    portions of each of the first outrigger 1L0 and the second              fighter climbing the aerial ladder assembly 200, wind load-
    outrigger 120 towards the ground. The actuator may be a                 ing, loading due to rotation, elevation, or extension ofaerial
    Iinear actuator, a rotary actuator, or sti1l another type of            ladder assernbly, etc.). Such static and dynamic Ioads are
    device and may be powered hydraulically, electrically, or               carried by the aerial ladder assernbly 200. The forces carried
    still otherwise powered.                                           2s   by the cylinders 56, the turntable 300, and the frame 12 may
        According to the exemplary embodiment shown in FIGS.                be proportional (e.g., directly proportional, etc.) to the
    3-5, a stability foot, shown as stability foot 130, is attached         length of the aerial ladder assembly 200. At least one of the
    to the first end 404 ofthe torque box 400. An actuator (e.g.,           weight of the aerial ladder assembly 200, the weight of the
    a linear actuator, a rotary actuator, etc.) may be positioned to        turntable 300, the weight ofthe cylinders 56, and the weight
    extetrd a portion ofthe stability foot 130 towards the ground.     30   ofthe torque box 400 is tradirionally increased to increase at
    Both the outriggers 100 and the stability foot 130 are used             least one ofthe extension height rating, the horizontal reach
    to suppon the flre apparatus 10 (e.g., while stationary and in          rating, the static load rating, and the dynarnic load rating.
    use to fight fires, etc.). According to an exemplary embodi-    Such vehicles traditionally require the use of a chassis
    ment, with the outriggers 100 and stability foot 130            having a tandem rear axle. However, the aerial ladder
    extended, the Iire apparatus 10 can withstand a tip capacity :s assernbly 200 of the {ire apparatus 10 has an increased
    ofat least 750 pounds applied to the last nrng on the second    extension height rating and horizontal reach rating without
    end 2O4 of the aerial ladder assembly 200 while fully           requiring a chassis having a tandem rear axle (e.g., a tandern
    extended (e.g., to provide a horizontal reach of at least 90    axle assembly, etc.). According to the exenrplary embodi-
    feet, to provide a horizontal reach ofat least 100 feet, to             ment shown in FIGS. 1-12, the fre apparatus 1.0 having a
    provide a vertical extension height of at least 95 feet, to        40   single rear axle 18 is lighter, substantially less diftcult to
    provide a vertical extension height of at least 105 feet, to            rnaneuvcr, and less expensive to manufacture than a fire
    provide a vertical extension height ofat least 107 feet, etc.).         apparatus having a tandem rear axle.
    The outriggers 100 and the stabiliry foot 130 are positioned               According to the exemplary embodiment shown in FIGS.
    to transfer the loading from the aerial ladder assembly 200             13-21, the first outrigger 110, the second outrigger 120, and
    to the ground. For example, a load applied to the aerial           +s   the stability foot 130 stabilize the fire apparatus 10 when the
    ladder assernbly 200 (e.g., a fire fighter at the second end            aerial ladder assembly 200 is in operation (e.g., being used
    204, a wind load, etc.) may be conveyed into to the turntable           to exlinguish a fire with tlte nozzle 38. extended to rescue
    300, through the pedestal 402 and the torque box 400, and               pedestrians liom a building, etc.). As shown in F'IG. 13, the
    into the ground through at least one ofthe outriggers 100 and           first outrigger 110, the second ontrigger 1.20. and the stabil-
    the stability foot 130. While the fire apparahrs 10 is being       so   ity foot 130 are disposed a stowed position (e.g., not
    driven or not in use, the actuators ofthe first outrigger II0,          actuated, not exterlded, etc.). The firct outrigger 110, the
    the second outrigger 120, and the stability foot 130 may                second outrigger 120. and the stabilit-v foot 130 rnay reurain
    retract portions of the outriggers 100 and the stability foot           in the stowed position u,hile the fire apparatus 10 is being
    130 into a stored position.                                             driven, while the fire apparatus 10 is not in operation (e.g.,
       As shown in FIGS. 10 and 12, the single rear axle 18            ss   not being trsed. parked, etc.), or any other time the aerial
    includes a differential 62 coupled to a pair ofhub assernblies          ladder assernbly 200 is not being utilized duriug a fire or
    64 with a pair of axle shaft assemblies 52. As shown il                 rescrre situation.
    FIGS. f 0 and 12, the single rear axle 18 includes a solid axle            As show'n in FIGS. 14-15, the lirst outrigger 110, the
    configuration extending laterally across the frame 12 (e.g.,            second outrigger 120. and the stability foot 130 are disposed
    chassis, etc.). A rear suspension, shown as rear suspension        oo   in a fully extended position. As shown in FIG. 14. the first
    66, includes a pair of leaf spring systems. The rear suspen-            outrigger Il0 'includes a first frame member, shown as first
    sion 66 may couple the single solid axle configuration of the           lateral rrcrnbcr l12, a first actualor, shown as first cylindcr
    single rear axle 18 to the frame 12. In one errbodiment, the            114, and a first conlact pad. shown as firsl contacl pad ll8.
    single rear axle 18 has a gross axle rveight rating ofno more           The first cylinder 1I4 includes a first cylinder barrel. shown
    than (i.e.. less than or equal to, etc.) 33,500 pounds. In other   os   as first cylinder barrel 115, and a first rod, shown as first rod
    ernbodiments, a first axle shaft assembly 52 has a first set of         116. The first rod 116 is coupled to the first contact pad 118.
                                                                            -Ihe
    constant velocity joints and a second axle shalt assembly 52                  lirst cylinder 114 is positioned lo extend the first conlact
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       pad 118 downward by extending the first rod 116 from the            19 may be lifted a height, shown as height 150, above the
       first cylinder barrel 115. The fust cylinder 114 extends the        ground surface 170. In one embodiurent, the heiglit 150 is
       Iirst contact pad 118 inlo contact wift a ground surl'ace,          less than twelve inches. In other embodirnents, the heigltt
       shown as ground surl'ace 170. In oue ernbodiment, the first         150 is at least twelve inches.
       cylinder 114 is a hydraulic cylinder. In other embodiments, s           Referring now to FIGS. 16-17, the aerial ladder assembly
       the first cylinder 114 is another type ofactuator (e.g., a linear   200 ofthe fire apparatus 10 includes a plurality ofextensible
       actuator, a rotary actuatot or still anolher type of device,        ladder sections. As shown in FIGS. l6-17, the plurality of
       etc.) that may be powered hydraulically, electrically, or still     extensible ladder sections includes a first ladder section,
       otherwise powered.                                                  shown as base section 220, a second ladder section, shown
          As shown in FIGS. 14-15, the second outrigger 120 ro             as lower middle section 240, a third ladder section. shown as
       includes a second frame member, shown as second lateral             upper middle section 260, and a fourth ladder section, shown
       rnember 122. a second actuator, shown as second cylinder            as fly seclion 280. The first end 202 of the aerial ladder
       124, and a second contact pad, shown as second contact pad          assembly 200 may be the proximal end (e.g., base end. pivot
       128. The second cylinder L24 includes a second cylinder             end, etc.) ofthe base section 220. The second end 204 ofthe
       barrel, shown as second cylinder barrel 125, and a second ts aerial ladder assembly 200 may be the distal end (e.g., free
       rod, shown as second rod 126. The second rod 126 is                 end, platform end, irnplement end, etc.) of the fly section
       coupled to the second contact pad 128. The second cylinder          280. According to an exemplary embodirnent, the second
       124 is positioned to extend the second contact pad 128              end 204 ofthe aerial ladder assembly 200 (i.e., the distal end
       downward by extending the second rod 126 from the second            of the fly section 280. etc.) is extensible to the horizontal
       cylinder barrel 125. The second cylinder 124 extends the zo reach ofat least 90 feet (e.g., at least 100 feet, etc.) when the
       second cortact pad 128 into contact with the ground surface         aerial ladder assembly 200 is selectively repositioned into a
       170. In one embodiment, the second cylinder 124 1s a                plurality of operating orientations.
       hydraulic cylinder. In other embodiments. the second cyl-               As shown in FIGS. 16-21, a load, shown as load 600 (e.g.,
       inder 124 is another type of actuator (e.g., a linear actuator,     tip load, tip capacity, etc.), rnay be applied to the aerial
       a rotary actuatot or still another type of device, etc.) that 25 ladder assembly 200 (e.g., at the furthest-most nurg of fly
       may be powered hydraulically, electrically, or still otherwise      section 280, etc.), and various components of the fire appa-
       powered.                                                            ratus 10 each have a center of gravity C'CG'). Such com-
           According to the exemplary embodiment shown in FIGS.            ponents may have a first CG, showrt as ladder assenrbly CG
       6 and 13-14, a housing, show'n as outrigger housing 106,            610, a second CG, shown as front cabin CG 620, a third CG,
       slidably couples the first outrigger 110 and the second :o show-n as pump CG 630, a fourth CG, shown as water tank
       outrigger 120 to the frame 12. As shown in FIGS. 13-L4, the         CG 640, a fifth CG, shown as rear section CG 650, and a
       first lateral member ll2 and lhe second lateral member 122          sixth CG, shown as tumtable CG 660. The ladder assembly
       are disposed in the fully extended position and spaced a            CG 610 may be representative of the CG of the four ladder
       distance 160. In one embodirnent, an actuator (e.g.. a linear       seclions of the aerial ladder assembly 200 (e.g., the base
       actuatol a rotary actuator etc.) or a pair of actuators is 35 section 220, the lower middle section 240, the upper middle
       positioned within the outrigger housing 106 to extend the           section 260, the fly section 280, etc.). The liont cabin CG
       first lateral member 112 and the second lateral member 122           62O may be representative of the CG of the various conr-
       laterally outward from opposing lateral sides of the frame          ponents in and around the front cabin 20 (e.g., the front axle
       12. The distance 160 may be the distance between the center         18. front tires 17, front suspension 54, front body assembly,
       of the first contact pad 118 and the center of the second +o front portion of the chassis, etc.). The pump CG 630 rnay be
       contact pad 128 when the pair of outriggers 100 is fully            representative ofthe CG ofthe purnp 22 and the components
       extended. In one embodiment, the distance 160 is no more            of the pump house 50. The water tank CG 640 nray be
       than eighteerl feet. In other embodiments. the distance 160         representative of the CG of the water tanl< 58. The rear
       is greater than eighteen feet.                                      section CG 650 may be representative of the CG of the
           As shown in FIG. 14. the stability foot 130 includes a +s various component of the rear section l6 (e.g., the rear axle
       third actuator, shown as third cylinder 134, and a third            18. rear tires 19, outriggers 100, stability foot 130, rorque
       contact pad, shou,n as third contact pad 138. The third             box 400. pedestal 402, ground ladders 46- rear body assem-
       cylinder 134 includes a third cylinder barrel. shown as third       bly, rear portion of the chassis, etc.). 'l'he tumtable CG 660
       cylinder barrel 135, and a third rod, shown as third rod 136.       may be representative of the CG of the hrmtable 300.
       The lhird rod 136 is cotrpled to the third contact pad 138. so          As shown in FIGS. 18-21, lhe aerial ladder assernbly 200
       The third cylinder 134 is positioned to extend the third             is disposed in a retracled configuralion. During operation,
       conlact pad 138 do*tward by extending the third rod 136             the aerial ladder assernbly 200 uray be exlended as shown in
       from the third cylinder barrel 135. The third cylinder 134          FIGS. 16-f 7. While shown in FIGS. 18-21 as disposed in the
       extends the third contact pad 138 into coutact with the             retracted configuration, it should be understood that the
       ground surface 170. In one embodiment, the third cylinder ss aerial ladder assernbly 200 may be exlended during use in
       134 is a hydraulic cylinder. Iu other embodiments, the third        various operating orientations. A variety of stability lines are
       cylinder 134 is another type of actuator (e.g.. a linear             generated for the fue apparatus 10 u'hile in tlte various
       actuator, a rotary actuatot or still another type of device,         operating orientations. Tlrc stability lines may be disposed
       etc.) that may be powered hydraulically. electrically, or still      along the single liont axle 18, tluougJr tire cenler of the
       otherwise  powered.                                              60 single front axle 18 and one ofthe first otrtrigger 110 and the
           Referring to FICiS. l3-14. the fire apparatus l0 includes a      second outrigger 120, through the stability tbot 130 aud one
       pair of front tires, shown as I'ront tires 17, and a set of rear     of the first outriggcr I l0 and thc sc.cond outrigger 120, or
       tires. shown as rear tires 19. When actuated, the first              laterally across the stability foot 130. among other altema-
       outrigger 110, the second outrigger 120, and the stability          tives.
       foot 130 elevate the rear section 16 ofthe fire apparatus L0 os         The various cornponents ofthe fire appararus 10 produce
       from the ground surlbce 170. The front tires 17 rnay remain          a positive moment or a regative monent lhat varies based on
       in contact wilh the ground surface 170, rvhile the rear tires        the location of their respective CCis. Positive momenls (e.g..
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    torques, etc.) may be generated by load 600 and the weiglrts             the fire apparatus 10 at a forward angle. The stability line
    of components having CGs located on a first side of the                  510 rnay extend through the center of the single frottt axle
    stability line (e.g., a side ofthe stability line rvhere the load        18 and the second outrigger 120. In other embodiments, the
    600 is located, etc.). Negative moments rnay be generated by             aerial ladder assembly 200 is selectively positioned to
    the weights    of   conponents having CGs located on           an   5    extend offto the left side ofthe fire apparatus 10 at a forward
    opposing second side of the stability line (e.g., a side of the          angle, and the stability line 510 may extend through the
    stability line where the load 600 is not located, erc.).                 center ofthe single front axle l8 and the first outrigger ll0.
    According to an exemplary embodiment, various compo-                     As shown in FIG. 19, whcn the load 600 is applied to the
    nents of the fire apparanls 10 (e.g., frame 12. tumtable 300,            second end 204 ofthe aerial ladder assernbly 200 while in
    rear section 16, pump 22, watertank 58, etc.) are positioned ro          the second operating orientation, the load 600 generates a
    such that their weights counterbalance a total positive                  first positive moment 512 about the stability line 510. The
    moment (e.g., generated by load 600 and the weights of                   ladder assembly CG 610 gencrales a second positive
    components having CGs located on the first side of the                   moment 512 about the stability line 510. The front cabin CG
    stability line, etc.) when the aerial ladder assembly 200 is             620 rnay generate a negligible moment about the stability
    extended to the horizontal reach ofat least 90 feet (e.g., at ts         line 510 as the front cabin CG 620 may be substantially
    Ieast l0O feet, etc.). The magnitude of the positive and                 disposed along the stability line 510. The pump CG 630. the
    negative mornents are proportional to the distances (e.g.,               water tank CG 640, the rear section CG 650, and the
    perpendicular distances, etc.) between the component's CG                turntable CG 660. among other components, generate nega-
    and the stability line (e.g., a greater distance from the                tive moments 514 about the stability line 510. In the second
    stability line increases the moment, a shorter distance from        uo   operating orientation, the negative moments 514 at least
    the stability line decreases the moment, a CG disposed on                balance the positive nrome[ts 512 while the aerial ladder
    the stability line resuhs in a negligible moment or zero                 assembly 200 is extended 1o the horizontal reach ofat least
    moment, etc.).                                                           90 feet (e.g., at least 100 feet, etc.) and a load 600 ofat least
      As shown in FIGS. 16-18, the aerial ladder assembly 200                750 pounds is applied.
    is configured in a lirst operating orientation. In the first 25             As shown in FIG. 20, the aerial ladder assembly 200 is
    operating orientation, the aerial ladder assembly 200 is                 configured in a third operating orientation. In the third
    disposed in a forward position in which the aerial ladder                operating orientation. the aerial ladder assembly 200 is
    assembly 200 extends over the front cabin 20 (e.9.. parallel             disposed in a sideward position in which the aerial ladder
    to the longitudinal axis 14. etc.). When aerial ladder assem-            assembly 200 extend.s from a lateral side of the chassis (e.g.,
    bly 200 is extended, the ladder assembly CG 610 may be ro                perpendicular to the longitudinal axis 14, etc.). As shown in
    positioned forward of the front cabin 20 (e.g., within the               FIG. 19, the fire apparatus 10 includes a stability line 520
    lower middle section 240, near the connection between the                when the aerial ladder assembly 200 is selectively posi-
    lower middle section 240 and the upper middle section 260                tioned in the third operating orientation (e.g.. laterally to the
    of the aerial ladder assembly 200, etc.). As shown in FIG. 18,           right side, laterally to the left side, etc.). As shown in FIG.
    the fire apparatus 10 includes a stability line 500 when the ts          19. the aerial ladder assenrbly 200 is selectively positioned
    aerial ladder assembly 200 is selectively positioned in the              to extend laterally offto the right side ofthe lire apparatus
    first operating orientation (e.g., a forward position, etc.). The        10. The stability line 520 may extend through the center of
    stability line 500 is disposed along the single front axle L8.           the single front axle 18 and the second outrigger 120. In
    As shown in FIG. 18, when the load 600 is applied to the                 other embodiments, the aerial ladder assembly is selectively
    second end 204 of the aerial ladder assernbly 200 while in +o            positioned to extend laterally of to the left side of the fire
    thc first operating orientation, the load 600 generates a first          apparatus 10, and the stability line 520 may extend through
    positive moment 502 about the stability line 500. The ladder             the center ofthe single front axle 18 and the first outrigger
    assembly CG 610 generates a second positive moment 502                   110. As shown in FIG. 20. u'hen the load 600 is applied to
    about the stability line 500. The front cabin CG 620 may                 the second end 204 of the aerial ladder assembly 200 while
    generate a negligible moment about the stability line 500 as +s          in the third operating orientation, the load 600 generates a
    the front cabin CG 620 may be substantially disposed along               first positive mo.menl 522 about the stabilit-v line 520. The
    the stability line 500. The pump CG 630, the water tank CG               ladder assernbly CG 610 generates a second positive
    640, the rear section CG 650, and the turntable CG 660,                  morlent 522 about the stability line 520. The front cabin CG
    anrong other components, generate negative moments 504                   620 may generate a negligible moment about the stability
    aboul the stability line 500. Inthe first operating orientation, so      line 520 as the front cabin CG 620 may be sttbstantially
    the uegative nloments 504 at least balance the positive                  disposed along the stability line 520. The pump CG 630. the
    rroments 502 while the aerial ladder assernbly 200 is                 water tank CG 640, the rear section CG 650, and the
    extended to the horizontal reach ofal least 90 feet (e.g., at         rurntable CG 660, among other components. generate nega-
    least 100 feel, etc.) and a load 600 ofat least 750 pounds is         tive rroments 524 about the stabililv line 520. In the third
    applied.                                                           55 operating orientation, the negative moments 524 at least
        As shown in FIG. 19, the aerial ladder assembly 200 is            balance the positive mornents 522 while the aerial ladder
    configured in a second operating orientation. In the second           assembly 200 is extended to the horizontal reach of at least
    operating orientation, the aerial ladder assernbly 200 is             90 l-eet (e.g., at least 100 l'eet. etc.) and a load 600 of at least
    disposed in a lbrward angled position in which the aerial             750 pounds is applied.
    ladder assembly 200 extends of to a side of the fue oo                   As shown in FIG. 21, the aerial ladder assernbly 200 is
    apparatus 10. biased towards the front cabin 20. As shown             configured in a lburth operating orierrtation and a fifth
    in FIG. t9, thc fire apparatus l0 includes a stability line 510       operating orienlation. In thc lirurth opcratirrg orietrtation, the
    when the aerial ladder assembly 200 is selectively posi-              aerial ladder assembly 200 is disposed in a rearu'ard angled
    tioned in the lbrward angled position (e.g., a forward angled         position in which the aerial ladder assembly 200 is extended
    posilion lo the right side, a forw'ard angled position to the left 6s oflto a side of the fire apparatus 10. biased towards the rear
    side. etc.). As shown in FIG. L9, the aerial ladder assembly          section 16. As shown in FIG.2l. the fire apparatus 10
    200 is selc,ctively positioned lo extend oilto the right side of      inchrdes a stability line 530 when the aerial ladder assernbly
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       200 is selectively positioned in the fourth operating orien-         from any of a wide variety of materials that provide suff-
       tation (e.g., a rearward angled position to the right side, a        cient strength or durabiliry in any of a wide variety of
       rearward angled position to the left side, etc.). As shown in        colors: textures, and combinations. Accordiugly, all such
       FIG. 21, the aerial ladder assembly 200 is selectively               modifications are intended to be included rvithin the scope of
       positioned to extend offto the right side ofthe fire apparatus   5   the present inventions. Other substitutions, nrodifications,
       10 at a rear-ward angle. The stability line 530 extends              changes, and omissions may be made in the design, oper-
       through the second outrigger 120 and the stability fcnt 130.         ating conditions, and arrangement ofthe preferred and olher
        In other embodiments, the aerial ladder assernbly 200 is            exemplary embodiments without departing from scope of
        selectively positioned to extend of to the left side of the fire    the present disclosure or from the spirit of the appended
       apparatus 10 al a rearward angle, and the stability line 530 ro claims.
       extends firough the first outrigger 110 and the srabiliry foot         Wlut is claimed is:
        130. As shown in FIG. 21, the load 600 is applied to the              1. A quint configuration fre apparatus, cornprising:
        second end 204 of the aerial ladder assernbly 200 while in            a chassis;
       the lburth operating orientatioq and the load 600 generates            a body assembly coupled to the chassis and having a
       a first positive moment 532 about the stabiliry line 530. lhe 15          storage area configured to receive a grouM ladder and
       ladder assembly CG 610 gerlerates a second positive                       a fire hose;
       moment 532 about the stability line 530. The front cabin CG            a pump coupled to the chassis;
        620, the pump CG 630, the water tank CG 640, the rear                 a water tank coupled to the chassis;
        section CG 650, and the tumtable CG 660, among other                  a ladder assembly including a plurality of extensible
       components, generate negative rnoments 534 about the 20                   ladder sections, the ladder assembly having a proximal
       stability line 530. In the fourth operating orientation, the              end that is coupled to the chassis;
       negative moments 534 at least balance the positive moments             a single front axle coupled to a front end ofthe chassis;
       532 while the aerial ladder assembly 200 is extende<l to the              and
       horizontal reach of at least 90 feet (e.g., at least 100 feet,         a single rear axle coupled to a rear end ofthe chassis,
       etc.) and a load 600 ol'at least 750 pounds is applied.           2s wherein the ladder assembly is extensible to provide a
           FIG. 21 also shows the aerial ladder assembly 200 con-                horizontal reach ofat least 90 l'eet and a vertical height
       figured in a fifth operating orientation. In the fifth operating          of at least 95 feet, wherein the ladder assernbly is
       orientation, the aerial ladder assembly 200 is disposed in a              configured to support a tip load of at least 750 pounds,
       rearward position in which the aerial ladder assembly 200                 and wherein the center of graviry of at least one of the
       extends away from the front cabin 20 (e.g., parallel to the 30            chassis, the body assembly, the pump, and the water
       longitudinal axis 14, opposite ofthe first operating orienta-             tank are positioned to counterbalance a moment gen-
       tion, etc.). As shorvn in FIG. 21. the fire apparatus 10                  erated by the tip load with the ladder assembly
       includes a stability line 540 when the aerial ladder assembly             extended to the horizontal reach of at least 90 feet.
       200 is selectively positioned in the fiflh operaling orientation       2. The fire apparatus of claim 1, funher comprising a
       (e.9., a, opposing reanvard position, etc.). The stability line :s pedestal coupling the ladder assembly to the chassis and
       540 is a line disposed laterally across the stability lbot 130      defining an axis about which the ladder assernbly is config-
       (e.g., perpendicular to the aerial ladder assembly 200, per-        ured to rotate.
       pendicular to the longitudinal axis 14, etc.). As shown in             3. The fire apparatus of claim 2, further comprising a
       FIG. 21, when the load 600 is applied to the second end 204         turntable rotatably coupling the proximal end of the ladder
       of the aerial ladder assembly 200 while in the fifth operating +o assembly to the pedestal such that the ladder assembly is
       orientalion, the load 600 gcnerates a first positive moment         selectively repositionable into a plurality of operating ori-
       542 about the stability line 540. Tire ladder assembly CG           enlations, wherein the horizontal reach is defined betlveen
       610 generates a second positive moment 542 about the                the axis about which the ladder assernbly is configured to
       stability line 500. The front cabin CG 620, the pump CG             rotate and a distal end ofthe ladder assembly, and wherein
       630, the water tank CG 640, the rear section CG 650, and the 45 the vertical height is defined befween a distal rung of the
       tunrtable CG 660, among other cornponents, gelerate nega-           ladder assembly and a ground surface.
       tive moments 544 about tlie stability line 540. In the fifth           4. fhe fire apparatus of claim 3, further comprising a cab
       operating orientation. the negative moments 544 at least            assembly coupled to the front end ofthe chassis, .*'herein the
       balance the positive moments 542 while the aerial ladder            plurality of operating orientations includes a forward posi-
       assembly 200 is extended to the horizontal reach ofat least s0 tion in which the ladder assembly exlends over the cab
       90 feet (e.g., at least 100 feet, etc.l and a load 600 ofat least   assembly, a rearward position in which the ladder assembly
       750 pounds is applied.                                              extends away from the cab assembly. and a sideward posi-
          It is important 10 note that the constmclion and arrange-        tion in which the ladder assembly extends fronr a lateral side
       ment of the elemetlts of the syslems and methods as shown           of the chassis.
       in the exemplary ernbodiments are illustrative only. ss 5. The fire apparatus of claim 4, wherein the plurality of
       Although oriy a ferv embodimetrts of llte present disclosure        extensible ladder sections includes a first ladder seclion. a
       have beel described in detail. those skilled in the art who         second ladder section, a third ladder section, and a lburth
       review th.is disclosure *'ill readily appreciate that lDany         ladder section. wherein the distal end ofthe ladder assembly
       rnodifications are possible (e.g.. variations il sizes, dimen-      is extensible to the horizontal reach of at least 90 l-eet when
       sions, strucftires, shapes and proportions of the varions oo the ladder assembly is oriented in the sideward position.
       elenrents, values of parameters. trx)unl ing arratrgemenls, use        6. The fire apparatus of claim l, fu(her cornprising a pair
       of rnaterials, colors, orientations. etc.) without matcrially       ofoutriggers coupled to the chassis and moveablc bctrvccn
       departing frorn the novel teachings and advantages of the           a fully extended position and a retracted position. u'hereiu
       subject matter recited. For exanple. elements shown as              the pair ofoutriggers protrude frorn opposing lateral sides of
       integrally fonned may be construcled of multiple parts or os the chassis when in the fully extended position.
       elements. It should be noted that lhe ele[lents and./or assem-         7. The fire apparatus of claim 6. wherein a pair of conlact
       blies ofthe componenls described lrerein rnay be constructed        pads associated with the pair of outriggers are spaced a
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    distance of no more than 1 8 feet when the pair of outriggers           sideward position in which the ladder assembly extends
    are in the fully extended position.                                     trom a lateral side ofthe chassis.
       8. The fire apparatus of claim 7, wterein the silrgle rear              15. The fire apparatus of claim 14, wherein the plurality
    axle has a gross axle weight rating of no more than 33,500              of extensible ladder sections includes a flrst ladder section,
    pounds.                                                            5    a second ladder sectiou, a third ladder section, and a fourth
                                                                            ladder section, wherein the distal end of the ladder assembly
       9. The fire apparatus of claim 8. further comprising at
                                                                            is extensible to the horizontal reach of at least 90 l'eet when
    least one of a leaf spring suspension system and an air
    suspension system coupling the single solid axle configu-
                                                                            the ladder assembly is oriented in the sideward position.
                                                                               16. The fire apparatus ofclaim 11, furlher comprising a
    ration to the chassis.
       10. The fire apparatus of claim 8, further comprising a first   I0   pair of outriggers coupled to the chassis and moveable
                                                                            between a fully extended position and a retracted position,
    independent snspension assembly coupled to the first axle
    and a second independent suspension assembly coupled to                 wherein the pair ofoutriggers protrude from opposing lateral
                                                                            sides of the chassis when in the fully extended position.
    the second axle.
      ll.  A fire apparatus. courprising:                                      17. The fire apparatus of claim 16, wherein a pair of
       achassis;                                                       15   contact pads associated with the pair of outriggers are
                                                                            spaced a distance of no more than 18 I'eet when the pair of
       a body assernbly coupled to the chassis and configured to
        receive a ground ladder a fire hose, a pump, and a                  outriggers are in the fully extended position.
                                                                               18. The fire apparatus ofclaim L7, wherein the single rear
        water tankl
      a ladder assembly including a plurality of extensible                 axle has a gross axle weight rating of no more than 33,500
                                                                            pounds.
         ladder sections, the ladder assembly having a proximal        20
        end that is coupled to the chassis:                                    19. The fire apparatus of claim 18, further comprising
      a siugle l-ront axle coupled to a liont end ofthe chassis;            either:
                                                                               at least one of a leaf spring suspension system and an air
         and
      a single rear axle coupled to a rear end ofthe chassis,                     suspension system coupling the single solid axle con-
        wherein the single rear axle comprises     either:             2s         figuration to the chassis, or
            a single solid axle configuration extendirlg laterally             a first independent suspension assembly coupled to the
               across the chassis, or
                                                                                  first axle and a second independent suspension assem-
            a first axle having a first constant velocity joint and
                                                                                  bly coupled to the second axle.
               a second axle having a second constant velocity                 20. A quint configuration fire apparatus, comprising:
            joint, the first axle and the second axle extending        30      a chassis;
             from opposing laleral sides ofa differential;                     a body assembly coupled to the chassis and having a
      wherein the ladder assembly is extensible to provide a                      storage area configured to receive a ground ladder and
         horizontal reach ofat least 90 feet, wherein the ladder                  a fire hose;
                                                                              a pump coupled to the chassis;
         assembly is configured to support a tip load of at least
                                                                              a water tank coupled to the chassis;
         750 pounds, and wherein the center of gravity of at           3s

         least one ofthe chassis. the body assembly, the pump,                a ladder   assembly including a plurality of extensible
                                                                                ladder sections, the ladder assembly having a proximal
         and the water tank are positioned to counterbalance a
                                                                                end that is coupled to the chassis;
         moment generated by the tip load with the ladder
                                                                              a single front axle coupled to a front end of the chassis;
         assembly extended to the horizontal reach ofat least 90
                                                                                and
         feet.                                                         40
                                                                              a single rear axle coupled to a rear end of the chassis,
       12. Tt,e fire apparatus of claim 11, funher comprising a
                                                                                rvherein the single rear axle comprises either:
    pedestal coupling the ladder assembly to the chassis and
    defining an axis about which the ladder assernbly is conlig-                    a single solid axle configuration extending laterally
                                                                                     across the chassis, or
    ured to rotate.
       1.3.
            -l-he
                  fire apparatus of clairn 12. further comprising a    as           fust axle having a first constant velocity joint and
                                                                                    a
    tumtable rotatably coupling the proximal end of the ladder                       a second axle having a second constant velocity
                                                                                     joint. the first axle and the second axle extending
    assembly to the pedestal such that the ladder assernbly is
    selectively repositionable into a plurality of operating ori-                    from opposing lateral sides ofa differential;
                                                                              wherein lhe ladder assembly is extensible to provide a
    elltations, wherein the horizontal reach is dcfined between
    the axis about which the ladder assembly is configured to          s0        horizontal reach ofat least 90 feet and a vertical height
    rotate and a distal end of the ladder assembly.
                                                                                 of at least 95 feet, and wherein the center of gravity of
        14. The fire appararus of claim 13. ftinher comprising a                 at least one of the chassis, the body assembly. the
                                                                                 punrp, and the u'ater tank are positioned to counterbal-
    cab assembly coupled to the front end of the chassis,
                                                                                 ance a moment generated by the tip load witlt the ladder
    wherein the plurality of operuting orientations includes a
    lbrward position in which the ladder assembly exlends over         55        assernbly extended to the horizontal reach ofat least 90
                                                                                 feet.
    the cab assembly, a rearward position in which the ladder
    assembly extends arvay frorn the cab asseurbly, and a
